                                                             Case 3:17-cv-01154-LAB-AGS Document 268 Filed 08/28/20 PageID.7521 Page 1 of 4



                                                                1 LOTZ, DOGGETT & RAWERS, LLP
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                                                                  101 West Broadway, Suite 1110
                                                                3 San Diego, California 92101
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                                                                4 Facsimile (619) 233-5564

                                                                5 Attorneys for Defendant, CORRECTIONAL
                                                                  PHYSICIANS MEDICAL GROUP INC.
                                                                6 sued and served as CORRECTIONAL
                                                                  FACILITIES MANAGEMENT GROUP
                                                                7

                                                                8                   IN THE UNITED STATES DISTRICT COURT
                                                                9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                                               10

                                                               11   MICHELLE MORIARTY, as individual, )         Case No. 3:17-cv-01154-LAB-AGS
LOTZ, DOGGETT & RAWERS LLP




                                                                    as Successor in Interest to the ESTATE )
                                                               12   OF HERON MORIARTY and as               )    JOINT MOTION TO CONTINUE
                             101 WEST BROADWAY, SUITE 1110




                                                                    GUARDIAN AD LITEM to                   )    MOTIONS IN LIMINE HEARING
                               SAN DIEGO, CALIFORNIA 92101




                                                                    ALEXANDRIA MORIARTY, ELIJAH )
                                 TELEPHONE: (619) 233-5565




                                                               13
                                                                    MORIARTY, and ETERNITY                 )              Jury Trial Demanded
                                                               14   MORIARTY,                              )
                                                                                                           )
                                                               15               Plaintiffs,                )    Date:         September 23, 2020
                                                                                                           )    Time:         1:30p.m.
                                                               16   vs.                                    )    Dept.:        14A
                                                                                                           )    Judge:        Hon. Larry Alan Burns
                                                               17   COUNTY OF SAN DIEGO, DR.               )
                                                                    ALFRED JOSHUA, individually; and )
                                                               18   DOES 1 through 10, Inclusive,          )
                                                                                                           )
                                                               19                                          )
                                                                                 Defendants.               )
                                                               20                                          )
                                                               21

                                                               22

                                                               23         The parties, through their respective attorneys of record, stipulate and jointly
                                                               24   request a continuance of the motions in limine hearing currently set for September
                                                               25   23, 2020 based on the following grounds:
                                                               26   ///
                                                               27   ///
                                                               28   ///
                                                                     JOINT MOTION TO CONTINUE MOTIONS IN LIMINE HEARING               3:15-cv-01154-LAB-AGS
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                                                                1         1.    On July 6, 2020, the Court continued the motions in limine hearing to
                                                                2   Monday, September 21, 2020 at 2:00 p.m. due to a conflict in the Court’s calendar.
                                                                3   (Doc. No. 261.)
                                                                4

                                                                5         2.    On August 25, 2020, the Court continued the motions in limine hearing
                                                                6   from September 21, 2020 to Wednesday, September 23, 2020 at 1:30 p.m. (Doc.
                                                                7   No. 264.)
                                                                8

                                                                9         3.    Lead trial counsel for defendant Correctional Physicians Medical
                                                               10   Group, Inc., Jeffrey S. Doggett, previously scheduled and purchased an out-of-state
                                                               11   trip commencing on September 23, 2020 to help move his daughter out-of-state to
LOTZ, DOGGETT & RAWERS LLP




                                                               12   begin her freshman year of college. His flight is scheduled to leave before the
                             101 WEST BROADWAY, SUITE 1110
                               SAN DIEGO, CALIFORNIA 92101




                                                                    hearing on September 23, 2020. Therefore, he will be unavailable for the currently
                                 TELEPHONE: (619) 233-5565




                                                               13

                                                               14   scheduled motions in limine hearing. Mr. Doggett is scheduled to return before
                                                               15   Monday, September 28, 2020.
                                                               16

                                                               17         4.    Mr. Doggett also has a scheduled and purchased vacation from
                                                               18   October 4 through October 9, 2020.
                                                               19   ///
                                                               20   ///
                                                               21   ///
                                                               22   ///
                                                               23   ///
                                                               24   ///
                                                               25   ///
                                                               26   ///
                                                               27   ///
                                                               28   ///
                                                                     JOINT MOTION TO CONTINUE MOTIONS IN LIMINE HEARING              3:15-cv-01154-LAB-AGS
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                                                             Case 3:17-cv-01154-LAB-AGS Document 268 Filed 08/28/20 PageID.7523 Page 3 of 4



                                                                1         5.    The parties request an order continuing the motions in limine hearing
                                                                2   to allow Mr. Doggett to attend the hearing, on or after September 28, 2020.
                                                                3

                                                                4                                                 Respectfully submitted,
                                                                5

                                                                6   DATED: August 26, 2020                    LOTZ, DOGGETT & RAWERS, LLP
                                                                7

                                                                8                                             By: /s/ Brian T. Bloodworth
                                                                9                                             JEFFREY S. DOGGETT, ESQ.
                                                                                                              BRIAN T. BLOODWORTH ESQ.
                                                               10                                             Attorneys for Defendants,
                                                                                                              CORRECTIONAL PHYSICIANS
                                                               11                                             MEDICAL GROUP INC.
LOTZ, DOGGETT & RAWERS LLP




                                                               12   DATED: August 26, 2020                    MORRIS LAW FIRM, APC
                             101 WEST BROADWAY, SUITE 1110
                               SAN DIEGO, CALIFORNIA 92101
                                 TELEPHONE: (619) 233-5565




                                                               13

                                                               14                                             By:_________/s/_________________
                                                                                                              CHRISTOPHER MORRIS, ESQ.
                                                               15                                             DANIELLE PENA, ESQ.
                                                                                                              Attorneys for Plaintiffs,
                                                               16                                             MICHELLE MORIARTY, as individual,
                                                                                                              as Successor in Interest to the ESTATE
                                                               17                                             OF HERON MORIARTY and as
                                                                                                              GUARDIAN AD LITEM to
                                                               18                                             ALEXANDRIA MORIARTY, ELIJAH
                                                                                                              MORIARTY, and ETERNITY
                                                               19                                             MORIARTY

                                                               20   DATED: August 26, 2020                    THOMAS E. MONTGOMERY, County
                                                               21                                             Counsel

                                                               22                                             By:___________/s/________________
                                                               23                                             CHRISTOPHER WELSH, ESQ, Senior
                                                                                                              Deputy
                                                               24                                             Attorneys for Defendants, COUNTY OF
                                                                                                              SAN DIEGO, DR. ALFRED JOSHUA,
                                                               25                                             LUIS ESCOBAR, SEAN DWYER,
                                                                                                              JAMIE PRECHAR, SCHROEDER,
                                                               26                                             MITCHELL

                                                               27

                                                               28

                                                                     JOINT MOTION TO CONTINUE MOTIONS IN LIMINE HEARING              3:15-cv-01154-LAB-AGS
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                                                                1   DATED: August 26, 2020                      LAW OFFICE OF JOSEPH T. KUTYLA
                                                                2
                                                                                                                By:______/s/_____________________
                                                                3                                               JOSEPH T. KUTYLA, ESQ,
                                                                                                                Attorneys for Defendant, DALE
                                                                4                                               WEIDENTHALER
                                                                5

                                                                6   DATED: August 26, 2020                      WILSON, ELSER, MOSKOWITZ,
                                                                                                                EDELMAN & DICKER LLP
                                                                7

                                                                8                                               By:_________/s/__________________
                                                                                                                ROBERT W. HARRISON, ESQ.
                                                                9                                               Attorneys for Defendant, RALPH
                                                                                                                LISSAUR, M.D.
                                                               10

                                                               11
LOTZ, DOGGETT & RAWERS LLP




                                                                    Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
                                                               12
                             101 WEST BROADWAY, SUITE 1110




                                                                    and Procedures Manual of the United States District Court for the Southern District
                               SAN DIEGO, CALIFORNIA 92101
                                 TELEPHONE: (619) 233-5565




                                                               13
                                                                    of California, I certify that the content of this document is acceptable to counsel for
                                                               14
                                                                    all parties and that I have obtained authorization for all of the foregoing signatories
                                                               15
                                                                    to affix their electronic signature to this document.
                                                               16

                                                               17
                                                                    DATED: August 26, 2020                      LOTZ, DOGGETT & RAWERS, LLP
                                                               18
                                                                                                                By: /s/ Brian T. Bloodworth
                                                               19                                               JEFFREY S. DOGGETT, ESQ.
                                                                                                                BRIAN T. BLOODWORTH, ESQ.
                                                               20                                               Attorneys for Defendants,
                                                                                                                CORRECTIONAL PHYSICIANS
                                                               21                                               MEDICAL GROUP INC
                                                               22

                                                               23

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                                                                     JOINT MOTION TO CONTINUE MOTIONS IN LIMINE HEARING                3:15-cv-01154-LAB-AGS
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